         Case 2:20-cv-03107-RGK-AFM Document 50 Filed 06/30/21 Page 1 of 4 Page ID #:360
Name and address:
Kyle Kveton, Esq. (SBN 110805)
Robie & Matthai, APC
350 S. Grand Avenue, Suite 3950
Los Angeles, California 90071
Telephone: (213) 706-8000
E-mail: kkveton@romalaw.com
                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
 VIVA NATURALS, INC.,                                                       CASE NUMBER
                                                                                              2:20-cv-03107-RGK-AFM
                                                         Plaintiff(s),

                 v.
 LIEF ORGANICS, LLC,                                                          APPLICATION OF NON-RESIDENT ATTORNEY
                                                                                    TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PROHACVICE
INSTRUCTIONS FOR APPLICANTS
( 1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
     Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION

Kevin M. Bell
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here iffederal government attorney 0

Arnall Golden Gre~rorv LLP
Firm/Agency Name

 1775 Pennsvlvania Ave. NW. Suite 1000                                   202-677-4030
                                                                         Telephone Number                    Fax Number
Street Address

W ashin~rton. DC 20006                                                                         kevin. bell@a~r~r.com
City, State, Zip Code                                                                             E-mail Address

I have been retained to represent the following parties:

 Lief Or~ranics. LLC                                                     D Plaintijf(s) [B] Defendant(s) [B] Other: Counterclaimant
                                                                         D Plaintiff(s) D Defendant(s) D Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name Q,f Court                         Date ofAdmission            Active Member in Good Standing? (tfnot, please explain)
Marvland                                                  06/24/1999               Yes
 U.S. Sunreme Court                                        03/21/2005              Yes
 U.S. Court - Fourth Circuit                               08/11/1999                es

G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Pagel of3
         Case 2:20-cv-03107-RGK-AFM Document 50 Filed 06/30/21 Page 2 of 4 Page ID #:361
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                     Title o(Action                             Date ofApplicatimr        Granted / Denied?
                                                          None




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II- CERTIFICATION

           I declare under penalty of perjury that:

           ( 1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
                substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                of this Court and maintains an office in the Central District of California for the practice oflaw, in
                which the attorney is physically present on a regular basis to conduct business, as local counsel
                pursuant to Local Rule 83-2.1.3.4.

               Dated 06/29/2021




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 2 of3
     Case 2:20-cv-03107-RGK-AFM Document 50 Filed 06/30/21 Page 3 of 4 Page ID #:362



SECTION III -DESIGNATION OF LOCAL COUNSEL


 Designee's Name (Last Name, First Name & Middle Initial)

 Robie & Matthai
 Firm/Agency Name

 350 S. Grand Avenue. Suite 3950                                   213-706-8000                          213-706-9913
                                                                   Telephone Number                      Fax Number
 Street Address                                                    K.Kveto.n @romalaw.com
  Los Angeles, California 90071                                    Email Address
 City, State, Zip Code
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated     4? l2t1}2J               .               ....,K>Ll'-"-e_._,K'-'-'ve=o=n,____--,-_ _ _ _ _ __ _ _



                                                                  Designees Signature
                                                                                                                   -.
SECTION IV - SUPPLEMENT ANSWEN:S HERE (:ATTACH A:OPITIONAt PAGES IF NECESSA:RY}

 Additional Bar Admissions:

 U.S. Court of Appeals - Federal Circuit (08/17/1999)

 U.S. District Court for the District of Maryland (06/01/1999)
 U.S. District Court for the District Colorado (01/11/06)
 Eastern District of Texas (08/03/2009)

 All of the above listed Bar admissions are in good standing




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                       Page 3 o£3
Case 2:20-cv-03107-RGK-AFM Document 50 Filed 06/30/21 Page 4 of 4 Page ID #:363
